                                                     U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York
                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007


                                                     April 29, 2021
                                       This version of
                                                    TO theBE
                                                           government's
                                                             FILED UNDER April 29,
                                                                               SEAL2021 letter, with
BY EMAIL                               agreed-upon redactions, shall be filed on the public docket.
                                         So ordered:
The Honorable J. Paul Oetken             5/20/2021
United States District Judge
Southern District of New York
Thurgood Marshall U.S. Courthouse
40 Foley Square
New York, New York 10007

       Re:     In re Search Warrant dated April 21, 2021, 21 Mag. 4335
               In re Search Warrant dated April 28, 2021, 21 Mag. 4591

Dear Judge Oetken:

        The Government respectfully writes to request that the Court appoint a special master to
conduct the filter review of potentially privileged materials seized pursuant to the above-captioned
warrants. The Government has conferred with counsel for both Rudolph Giuliani and Victoria
Toensing. Counsel for Giuliani intends to file a response upon reviewing the Government’s letter.
Toensing is in the process of securing permanent counsel, and her interim counsel is copied on this
letter.

       A. Relevant Background

        In connection with an ongoing grand jury investigation, this Court has supervised and
authorized searches and related applications, including applications authorized by this Court on
April 21, 2021 pursuant to Federal Rule of Criminal Procedure 41 to search premises belonging to
Rudolph Giuliani and Giuliani Partners LLC, and to seize and search electronic devices (21 Mag.
4335). On April 28, 2021, the Government seized 18 electronic devices belonging to Giuliani and
certain employees of Giuliani Partners pursuant to those warrants. On April 22, 2021, the
Government sought and obtained warrants in the District of Maryland, pursuant to Rule 41, to
search premises belonging to Victoria Toensing and seize certain electronic devices. On April 28,
2021, the Government seized one electronic device belonging to Toensing pursuant to those
warrants. On April 28, 2021, the device seized from Toensing was transported to the Southern
District of New York and the Government sought and obtained a warrant to search that electronic
device for evidence of enumerated offenses (21 Mag 4591). 1 The warrants authorize the seizure
of materials responsive to the Warrants dated between                                       as to

   1
    The search warrants assigned numbers 21 Mag. 4335 (the “Giuliani Warrants”) and 21 Mag
4591 (the “Toensing Warrant”) are collectively referred to herein as the Warrants.
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Giuliani, and                                          as to Toensing. The searches on April 28,
2021, were executed by Special Agents of the Federal Bureau of Investigation (“FBI”) who have
not been involved in this investigation and will not be involved in it going forward. Technical
specialists with the FBI have begun to extract materials from the seized devices, but the review of
those materials has not begun.

       B. The Court Should Appoint a Special Master to Conduct the Privilege Review

           1. Applicable Law

         Courts have a “limited supervisory authority over a grand jury proceeding.” United States
v. Hilts, 757 F. App’x 56, 59 (2d Cir. 2018) (citing United States v. Williams, 504 U.S. 36, 47
(1992)). That authority extends to the protection of privileges recognized by the Constitution,
Congress, and the common law. See Williams, 504 U.S. at 48; Gravel v. United States, 408 U.S.
606 (1972); In re Grand Jury Investigation of Hugle, 754 F.2d 863, 864-65 (9th Cir. 1985)
(Kennedy, J.). That supervisory authority exists prior to an individual being charged with a crime.
See In re Grand Jury Investigation of Hugle, 754 F.2d at 865 (“a court is not required to defer
relief [on a privilege issue] until after issuance of the indictment”); In re Wiltron Assocs., Ltd., 49
F.R.D. 170, 172 (S.D.N.Y. 1970) (declining to grant relief under Rule 41 and recognizing
jurisdiction was based on the court’s “general supervisory power”).

        When a search involves materials potentially protected by the attorney-client privilege, the
review may be conducted by a government “filter team,” a magistrate judge, or a special master.
See generally United States v. Stewart, No. 02 Cr. 395 (JGK), 2002 WL 1300059, at *4-6
(S.D.N.Y. June 11, 2002) (discussing the potential options for review of search warrant materials).
The use of a government “filter team” is a “common procedure” in this District and considered
protective of the attorney-client privilege. See United States v. Ceglia, 2015 WL 1499194, at *1
(S.D.N.Y. Mar. 30, 2015); see also United States v. Patel, No. 16 Cr. 798 (KBF), 2017 WL
3394607, at *7 (S.D.N.Y. Aug. 8, 2017) (noting government use of filter review team as evidence
of good faith); United States v. Winters, No. 06 Cr. 54 (SWK), 2006 WL 2789864 (S.D.N.Y. Sept.
27, 2006) (proposed use of “‘wall Assistant’ adequately protects the defendant’s asserted
privilege”). That said, under certain exceptional circumstances, the appointment of a special
master to review materials seized from an attorney may be appropriate. Those circumstances may
exist where the search involves the files of a criminal defense attorney with cases adverse to the
United States Attorney’s Office, “thus rais[ing] Sixth Amendment concerns that would not
otherwise be present,” Stewart, 2002 WL 1300059, at *5, or where the attorney represents the
President of the United States such that any search may implicate not only the attorney-client
privilege but the executive privilege, see In re the Matter of Search Warrants Executed on April
9, 2018, No. 18 MJ 3161 (S.D.N.Y. Apr. 16, 2018) (Dkt. 104). Under such circumstances, as
Judge Wood explained when appointing a special master following the search of premises
belonging to Michael Cohen, while there was no question that a review by the Government’s filter
team—which, in that case, like here, had previously reviewed records from email accounts
obtained pursuant to covert search warrants—was “as fair as one done by a special master,” id.
(Dkt. 38, Apr. 26, 2018 Tr. at 8), appointment of a special master was nonetheless appropriate to
promote the “perception of fairness, not fairness itself” due to the public nature of the premises
searches, id. (Dkt. 104, Apr. 16, 2018 Tr. at 88).
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        When courts have appointed special masters, the appointment has typically been based on
a defendant’s motion, after a criminal case has been charged, or pursuant to a return of property
motion or a temporary restraining order. See id. (denying Cohen’s request for a temporary
restraining order, but appointing a special master); Stewart, 2002 WL 1300059 (granting defense
motion for a special master); United States v. Grant, No. 04 Cr. 207 (BSJ), 2004 WL 1171258, at
*2-3 (S.D.N.Y. May 25, 2004) (entertaining but denying defense motion for a special master).
Consistent with a court’s supervisory authority, however, the court may also appoint a special
master where, as here, there is no pending criminal case against the subjects of the search. See In
re the Matter of Search Warrants Executed on April 9, 2018, No. 18 MJ 3161 (S.D.N.Y. Apr. 27,
2018) (Dkt. 30) (appointing a special master pursuant to Fed. R. Civ. P. 53(a)(1)(C) and the court’s
“inherent equitable powers and authority”); see also 18 U.S.C. § 3626(g)(8) (defining “special
master” as “any person appointed by a Federal court pursuant to Rule 53 of the Federal Rules of
Civil Procedure or pursuant to any inherent power of the court to exercise the powers of a master,
regardless of the title or description given by the court.” (emphasis added)); Benjamin v. Fraser,
343 F.3d 35, 46 (2d Cir. 2003) (noting that section 3626(g)(8) “implicitly incorporates the long-
recognized principle that Article III courts may appoint agents to engage in a variety of activities
essential to the performance of judicial responsibilities.” (citations omitted)).

           2. Discussion

        As the Court is aware from the Government’s prior search warrant applications, and
consistent with the general practice in this District, the Government has used a filter team 2 to
review and exclude potentially privileged communications from email and iCloud accounts
belonging to Giuliani and Toensing that were seized pursuant to prior warrants. 3 While the


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      The Government’s filter team is comprised of Assistant United States Attorneys and FBI
agents who are not members of the Government’s case team, and who are supervised by two senior
Assistant United States Attorneys. The Government’s filter team reviewed the materials pursuant
to established protocols for safeguarding materials that are potentially protected by the attorney-
client or any other applicable privilege. Pursuant to those protocols, the filter team reviewed
materials in the first instance for potential privilege protections and released materials to the case
team that it designated not potentially privileged.
   3
      Specifically, on November 4, 2019, this Court issued a search warrant for iCloud accounts
belonging to Giuliani and Toensing for the time period                                      (as to
Giuliani) and                                             (as to Toensing). On December 13, 2019,
this Court issued a search warrant for an email account belonging to Toensing for the time period
                                             . These prior warrants remain under seal, although
pursuant to the Court’s limited unsealing order, the Government has provided copies of the
warrants, but not the applications, to counsel for Giuliani and Toensing. The Government’s review
of the returns from the prior warrants is substantially complete. Based on the Government’s
investigation to date, given the overlap in date range and because certain materials, including
certain emails and text messages, were backed up to the iCloud accounts that were searched
pursuant to these prior warrants, the Government expects that some, but not all, of the materials
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Government believes that its use of a filter team to conduct a review pursuant to established
protocols is sufficient to protect applicable privileges and that the previous use of a filter team was
particularly appropriate and necessary given the then-covert nature of the searches, given that the
searches now at issue were done in an overt manner and have been publicized by both of the targets
of those searches, as well as the unusually sensitive privilege issues that the Warrants may
implicate, the Government considers it appropriate for the Court to appoint a special master to
make the privilege determinations as to materials seized pursuant to the Warrants. In particular,
the overt and public nature of these warrants necessitates, as Judge Wood observed, the
appointment of a special master for the “perception of fairness, not fairness itself.”

        In light of the parallels to this matter, the Government respectfully suggests that the Court
adopt the procedures adopted by Judge Wood for the appointment of a special master in In re the
Matter of Search Warrants Executed on April 9, 2018, No. 18 MJ 3161 (S.D.N.Y. Apr. 16, 2018),
specifically:

        •   Direct the parties to confer and submit proposed candidates for a special master and,
            if they cannot reach agreement on a list of candidates, submit their own candidates.
        •   Appoint a special master from the list of candidates proposed by the parties or another
            suitable candidate identified by the Court.
        •   Require the special master to submit a declaration regarding any bases for potential
            disqualification. (Dkt. No. 29.)
        •   Issue an order identifying the duties, reporting and judicial review requirements, and
            other provisions relating to the appointment of a special master. (Dkt. No. 30.)
        •   Require the parties and special master to complete the review of the seized materials
            on an expedited schedule set forth by the Court.




present on the electronic devices seized pursuant to the Warrants could be duplicative of the
materials seized and reviewed pursuant to the prior warrants.
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        Finally, the Government respectfully requests that this letter be filed under temporary seal
until May 3, 2021, to allow counsel for Giuliani and Toensing to make any redaction or sealing
requests during that time. The Government has simultaneously transmitted a proposed redacted
version of this letter, which redactions are narrowly tailored to protect the Government’s ongoing
investigation, including with respect to matters that remain under seal. To the extent it later
becomes appropriate for the letter to be filed without redactions, the Government will so move.


                                                     Respectfully submitted,

                                                     AUDREY STRAUSS
                                                     United States Attorney for the
                                                     Southern District of New York

                                                 By: _____/s/_______________________
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Cc: Robert Costello, Esq. (counsel for Rudolph Giuliani)
   Brady Toensing, Esq. (interim counsel for Victoria Toensing)
